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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MEGAN T. HOPKINS, #294141
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, CA 95823
     Telephone: 916-498-5700
5    Fax: 916-498-5710

6    Attorney for Defendant
     JOSE CURIEL
7
8                             IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                       )   Case No. 2:22-cr-000151-WBS
                                                     )
12                          Plaintiff,               )   STIPULATION AND ORDER TO
                                                     )   CONTINUE STATUS CONFERENCE AND
13   v.                                              )   EXCLUDE TIME
                                                     )
14   JOSE CURIEL, ET AL                              )
                                                     )   Date: March 6, 2023
15                          Defendants.              )   Time: 9:00 a.m.
                                                     )
16                                                   )

17
18            IT IS HEREBY STIPULATED, by and between the parties, through their respective

19   counsel, Assistant United States Attorney Justin Lee, counsel for plaintiff, Assistant Federal

20   Defender Megan T. Hopkins, counsel for defendant Jose Curiel, and Clemente M. Jimenez,

21   counsel for defendant Roberto Tostado-Cadenas, that the status conference scheduled for

22   December 12, 2022, be continued to March 6, 2023, at 9:00 a.m.

23            The government has provided defense counsel with a substantial batch of initial

24   discovery, which defense counsel is in the process of reviewing and is conducting investigation

25   therefrom. The parties believe a continuance to March 6, 2023, will permit defense counsel the

26   additional time necessary to conduct pretrial investigation, identify and interview witnesses,

27   obtain pertinent records, and engage in pre-plea negotiations.

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1            The parties agree that the ends of justice served by resetting the status conference date
2    outweigh the best interest of the public and the defendant in a speedy trial. Therefore the parties
3    agree that time is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) (Local Code T4).
4
5    Dated: December 7, 2022                                Respectfully submitted,
6                                                           HEATHER E. WILLIAMS
                                                            Federal Public Defender
7
                                                            /s/ Megan T. Hopkins
8                                                           MEGAN T. HOPKINS
                                                            Assistant Federal Defender
9                                                           Attorney for Defendant
                                                            JOSE CURIEL
10
11                                                          /s/ Clemente M. Jimenez
     Dated: December 7, 2022                                CLEMENTE M. JIMENEZ
12                                                          Attorney for Defendant
                                                            ROBERTO TOSTADO-CADENAS
13
14                                                          PHILLIP A. TALBERT
                                                            United States Attorney
15
16   Dated: December 7, 2022                                 /s/ Justin Lee
                                                            JUSTIN LEE
17                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
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                            Curiel                    -2-
      Stipulation to Continue Status Conference
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                                                  ORDER
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             IT IS HEREBY ORDERED that the preliminary hearing scheduled for December 12,
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     2022, at 9:00 a.m. is continued to March 6, 2023, at 9:00 a.m. The time period between
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     December 12, 2022 and March 6, 2023, is excluded under the Speedy Trial Act pursuant to 18
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     U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), as the ends of justice served by granting the
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     continuance outweigh the best interest of the public and the defendant in a speedy trial.
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     Dated: December 7, 2022
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     !Unexpected
      United States v.End
                       Jose of FormulaUnited
                            Curiel                   -3-
      Stipulation to Continue Status Conference
